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EXHIBIT 3
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FPA # 131
CONTACT LOG
** () E-mail Correspondence Attached **
OC End Client C)Property D Petitioner CI Venue
Verification Management Verification Verification
Adjust Status Here Adjust Status Here Adjust Status Here Adjust Status Here
Agent: Receipt: WAC1914050982
Petitioner: Visa Class: H2A
CASE SUMMARY
CASE NOTES

Company Contacted / Relationship

03APR2019: KCC FPU received email from , owner of
reported his farm had fields at the following locations where he expected workers:

In Coffee County,GA: __ farm: at GPS coordinates 31.481425 X -82.597435:
24 acres of rabbit eye blueberries and 5 acres of high bush high density bed blueberries.

farm: at GPS coordinates 31.492374 X -82.632100: 50 acres high bush
high density beds blueberries and rows. : 31.563610 X -82.710413 15 acres
high bush high density bed blueberries and rows; 9 acres rabbit eye blueberries.

In Bacon County, GA: farm: at GPS coordinates 31.532303 X -82.481241 20
acres rabbit eye blueberries. farm: at GPS coordinates 31.536254 X -82.378156 20
acres rabbit eye blueberries. farm: at GPS coordinates 31.622818 X -
82.368834 6 acres high bush high density bed blueberries, 10 acres rabbit eye blueberries

In Appling County, GA: farm: at GPS coordinates 31.782494 X -
82.302168 50 acres high bush row blueberries, 100 acres rabbit eye blueberries.

02APR2019 at approximately 7:35 am: KCC FPU called and spoke with
, owner of reported his farm had used H2A workers for

about 4 years and had recently doubled the number of workers requested, with two petitions
being filed by contractors in 2019 for a total of 175 workers. was spread across
several GA counties and hired two different contractors to cover their labor needs, with a request
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FPA # 131

with for 100 workers and a separate request with
LLC for 75 workers.

The farm had 400 acres of blueberries, about equally divided between high-bush and rabbit eye,
and needed workers starting in the second week of APR through early to mid-JUN,
approximately 8 weeks of harvest. The workers are tasked with planting new blueberry bushes,
laying irrigation, and harvesting the crop. The farm had eight different locations spread across
three counties in GA. advised he would provide the exact locations via email.

reported the contractors will cover lodging and transport for the workers. He
understood was lodging workers in the - Hotel but was

unsure of any arrangements made for the LLC workers.

Company Contacted / Relationship

Company Contacted / Relationship

**End of Contact Log**

PIMS Notes
